             Case 1:21-cr-00233-CJN Document 55 Filed 04/10/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
      v.                             )               CASE NO. 1:21-cr-233 (CJN)
                                     )
WILLIAM NORWOOD                      )
____________________________________ )




                          MOTION TO WITHDRAW AS COUNSEL



        Counsel, Peter A Cooper, hereby moves to withdraw as counsel for William Norwood.

As grounds for this motion, counsel states the following:

        1.       Mr Norwood is before the court charged with two counts each of: Obstruction of

an Official Proceeding in violation of 18 U.S.C. §1512(c)(2); Theft of Government Property in

violation of 18 U.S.C. §641; and Entering and Remaining in Restricted Building or Grounds in

violation of 18 U.S.C. §1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building

or Grounds in violation of 18 U.S.C. §1752 (a)(2); Entering and Remaining in Certain Rooms in

the Capitol Building in violation of 40 U.S.C. §5104(e)(2)(C); Disorderly Conduct in a Capitol

Building in violation of 40 U.S.C. §5104(e)(2)(D); and Parading, Demonstrating, or Picketing in

a Capitol Building in violation of 40 U.S.C. §5104(e)(2)(G). A status hearing is set for 5 May,

2023.

        2.       Counsel was appointed to this matters on 16 March, 2021 pursuant to the

Criminal Justice Act.

        3.       Mr Norwood has recently retained the services of Ms Marina Medvin Esq. Ms

Medvin entered her appearance on 7 April, 2023.
            Case 1:21-cr-00233-CJN Document 55 Filed 04/10/23 Page 2 of 2




       4.       Due to the retention of Ms Medvin as counsel, and her entering her appearance,

undersigned counsel moves this Honorable Court to allow him to withdraw as counsel.



       WHEREFORE, for the foregoing reasons, and for any other reasons stated at a hearing,

counsel respectfully requests that this Court permit him to withdraw as counsel in this matter.


                                             Respectfully Submitted,

                                             /s/ Peter A. Cooper
                                             Peter A. Cooper, #478-082
                                             Counsel for William Norwood
                                             400 Fifth Street, NW.
                                             Suite 350
                                             Washington DC 20001




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Motion to Withdraw as Counsel is
being filed via the Electronic Court Filing System (ECF), causing a copy to be served upon
government counsel of record, this 10th day of April, 2023.

                                             /s/ Peter A. Cooper
                                             Peter A. Cooper




                                                2
